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SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
Lisa Laukitis
Clark Xue
One Manhattan West
New York, New York 10001
Telephone: (212) 735-3000
Fax: (212) 735-2000
-and-
Elizabeth M. Downing (admitted pro hac vice)
500 Boylston Street
Boston, Massachusetts 02116
Telephone: (617) 573-4800
Fax: (617) 573-4870

Counsel for William A. Brandt, Jr., Chapter 11 Trustee

    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK

                                                                           :
In re:                                                                     :    Chapter 11
                                                                           :
CHINA FISHERY GROUP LIMITED (CAYMAN)                                       :    Case No. 16-11895 (JLG)
et al.,                                                                    :
          Debtors. 1                                                       :    (Jointly Administered)
                                                                           :
                                                                           :
In re:                                                                     :    Chapter 11
                                                                           :
CFG Peru Investments Pte. Limited (Singapore),                             :    Case No. 16-11914 (JLG)
            Debtor.                                                        :
                                                                           :    (Jointly Administered)
                                                                           :

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     The Debtors are China Fishery Group Limited (Cayman), Pacific Andes International Holdings Limited (Bermuda),
     N.S. Hong Investment (BVI) Limited, South Pacific Shipping Agency Limited (BVI), China Fisheries International
     Limited (Samoa), CFGL (Singapore) Private Limited, Chanery Investment Inc. (BVI), Champion Maritime Limited
     (BVI), Growing Management Limited (BVI), Target Shipping Limited (HK), Fortress Agents Limited (BVI), Ocean
     Expert International Limited (BVI), Protein Trading Limited (Samoa), CFG Peru Investments Pte. Limited (Singapore),
     Smart Group Limited (Cayman), Super Investment Limited (Cayman), Pacific Andes Resources Development Limited
     (Bermuda), Nouvelle Foods International Ltd., Golden Target Pacific Limited, Pacific Andes International Holdings
     (BVI) Limited, Zhonggang Fisheries Limited, Admired Agents Limited, Chiksano Management Limited, Clamford
     Holding Limited, Excel Concept Limited, Gain Star Management Limited, Grand Success Investment (Singapore)
     Private Limited, Hill Cosmos International Limited, Loyal Mark Holdings Limited, Metro Island International Limited,
     Mission Excel International Limited, Natprop Investments Limited, Pioneer Logistics Limited, Sea Capital
     International Limited, Shine Bright Management Limited, Superb Choice International Limited, and Toyama Holdings
     Limited (BVI).

                                                                                                                (cont’d)
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                   NOTICE REGARDING EIGHTH EXTENSION OF
             THE AUTOMATIC TERMINATION DATE OF THE MEDIATION

                 PLEASE TAKE NOTICE that on January 29, 2020, the Court entered the Order

(A) Granting Mediation Motion, (B) Referring Matters to Mediation, and (C) Authorizing Taking

Corporate Governance Actions Necessary to Enable Non-Debtors CFG Investment S.A.C. to

Participate in Mediation [Docket No. 1938] (the “Mediation Order”).2

                 PLEASE TAKE FURTHER NOTICE that paragraph 8 of the Mediation Order

provides that the automatic termination date of the Mediation (the “Mediation Termination Date”)

would occur on May 29, 2020.

                 PLEASE TAKE FURTHER NOTICE that on May 29, 2020, the Court entered

the Order Extending the Automatic Termination Date of the Mediation [Dkt. No. 2053] (the

“Mediation Termination Date Extension Order”), paragraph 1 of which provides that the

Mediation Termination Date shall be extended to September 1, 2020, unless the Mediation has

concluded or unless further extended by agreement of the Mediation Parties with the consent of

the Mediator.

                 PLEASE TAKE FURTHER NOTICE that on September 1, 2020, the Chapter

11 Trustee filed the Notice Regarding Further Extension of the Automatic Termination Date of the

Mediation [Dkt. No. 2139], which provided notice that the Mediation Parties agreed, and the

Mediator consented, to further extending the Mediation Termination Date to October 30, 2020.

                 PLEASE TAKE FURTHER NOTICE that on November 3, 2020, the Chapter 11

Trustee filed the Notice Regarding Third Extension of the Automatic Termination Date of the

Mediation [Dkt. No. 2211], which provided notice that the Mediation Parties agreed, and the



2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
    Mediation Order.

                                                        2
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Mediator consented, to further extending the Mediation Termination Date, (i) with respect to the

Liquidator Disputes, to November 13, 2020; and (ii) with respect to the Intercreditor Dispute, to

November 24, 2020.

               PLEASE TAKE FURTHER NOTICE that on November 20, 2020, the Chapter

11 Trustee filed the Notice Regarding Fourth Extension of the Automatic Termination Date of the

Mediation [Dkt. No. 2232], which provided notice that the Mediation Parties agreed, and the

Mediator consented, to further extending the Mediation Termination Date to November 30, 2020

               PLEASE TAKE FURTHER NOTICE that on December 7, 2020, the Chapter 11

Trustee filed the Notice Regarding Fifth Extension of the Automatic Termination Date of the

Mediation [Dkt. No. 2249], which provided notice that the Mediation Parties agreed, and the

Mediator consented, to further extending the Mediation Termination Date, (i) with respect to the

Intercreditor Dispute, to December 14, 2020; and (ii) with respect to the Liquidator Disputes, to

January 6, 2021.

               PLEASE TAKE FURTHER NOTICE that on December 24, 2020, the Chapter

11 Trustee filed the Notice Regarding Sixth Extension of the Automatic Termination Date of the

Mediation [Dkt. No. 2277], which provided notice that the Mediation Parties agreed, and the

Mediator consented, to further extending the Mediation Termination Date with respect to the

Intercreditor Dispute to January 6, 2021.

               PLEASE TAKE FURTHER NOTICE that on January 6, 2021, the Chapter 11

Trustee filed the Notice Regarding Seventh Extension of the Automatic Termination Date of the

Mediation [Dkt. No. 2287], which provided notice that (i) the Mediation Parties with respect to

the CFGI Lawsuit agreed, and the Mediator consented, to further extending the Mediation

Termination Date with respect to the CFGI Lawsuit to March 7, 2021 in order to provide additional

time for the relevant parties to finalize and formally document their agreement in principle to

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resolve the CFGI Lawsuit; and (ii) the Mediation with respect to the Liquidator Disputes other

than the CFGI Lawsuit has terminated.

               PLEASE TAKE FURTHER NOTICE that in accordance with the Mediation

Order and the Mediation Termination Date Extension Order, the Mediation Parties have agreed,

and the Mediator has consented, to a further extension of the Mediation Termination Date with

respect to the Intercreditor Dispute to March 7, 2021 in order to provide certain Mediation Parties

to the Intercreditor Dispute with additional time to engage in discussions and negotiations with

respect to the Mediation.

Dated: January 19, 2021
       New York, New York

                                       SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

                                       By: /s/ Lisa Laukitis
                                           Lisa Laukitis
                                           Clark Xue
                                           One Manhattan West
                                           New York, New York 10001-8602
                                           Telephone: (212) 735-3000
                                           Fax: (212) 735-2000
                                           -and-
                                           Elizabeth Downing (admitted pro hac vice)
                                           500 Boylston Street
                                           Boston, Massachusetts 02116
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                                           Fax: (617) 573-4870

                                       Counsel for William A. Brandt, Jr.,
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